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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHY TOWNSEND GRIFFIN, et.al,

Plaintiffs,

VS. ECF CASE
17-CV-5221 (LLS)

EDWARD CHRISTOPHER SHEERAN, et.al.,

Defendants. NOTICE OF APPEAL

/

 

NOTICE IS HEREBY GIVEN that the Plaintiffs, collectively, appeal to the United
States Court of Appeals for the Second Circuit from the following Orders/Judgments of this

Court in the above-styled action—

1. Opinion & Order on Defendants’ First Motion in Limine (Doc. 121), dated March 24,
2020;

2. Order (Doc. 138), dated August 18, 2020;

3. Pretrial Order No. 3 (Doc. 163), dated October 5, 2020;
4. Pretrial Order No. 5 (Doc. 192), dated March 10, 2023;
5. Pretrial Order No. 6 (Doc. 243), dated April 5, 2023;

6. Jury Verdict (Doc. 276), dated May 4, 2023; &

7. Judgment (Doc. 277), dated May 5, 2023.

FRANK & RICE, P.A.

Respectfully Submitted,

/s/ Patrick R. Frank, Esq.
Patrick R. Frank, Esq.

 
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